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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,             )        Case No. 23-80101-CR
                                        )        CANNON/REINHART
                    Plaintiff,          )
                                        )
  v.                                    )
                                        )
  WALTINE NAUTA, and                    )
  CARLOS DE OLIVEIRA,                   )
                                        )
                    Defendants.         )



                     PRESIDENT DONALD J. TRUMP’S NOTICE
                     REGARDING JANUARY 17, 2025, HEARING
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         Pursuant to the Court’s January 15, 2025, Order, Doc. 705, President Trump hereby gives

  notice that he intends to present argument in support of his Motion to Intervene as to Volume II of

  the Final Report, Doc. 681. John F. Lauro and Gregory M. Singer will appear on behalf of President

  Trump, with Mr. Lauro designated to present argument.



  Dated: January 15, 2025                              Respectfully submitted:

                                                       /s/ John F. Lauro / Gregory M. Singer
                                                       John F. Lauro, Esq.
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                                                       Gregory M. Singer, Esq.
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                                                       Counsel for President Donald J. Trump




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on January 15, 2025, a true and correct copy of the foregoing was filed

  electronically with the Court’s CM/ECF system to be served electronically on counsel of record

  for all parties who have entered in the case.

                                                       /s/Gregory M. Singer
                                                       Gregory M. Singer




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